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                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF MISSISSIPPI
                              OXFORD DIVISION


FRANCES DENISE ALOMARI, on behalf
of herself and all others similarly situated,

                           Plaintiff,                     3:22cv261-GHD-RP
                                                Case No. ____________________

   v.                                           CLASS ACTION COMPLAINT

UNITED FURNITURE INDUSTRIES,                    JURY TRIAL DEMANDED
INC.,

                           Defendant.
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                                CLASS ACTION COMPLAINT

       Plaintiff Frances Denise Alomari (“Plaintiff”), individually and on behalf of all others

similarly situated, by and through her undersigned attorneys, brings this Class Action Complaint

against Defendant United Furniture Industries, Inc. (“UFI”) for its violation and anticipated further

violation of the federal Worker Adjustment and Retraining Notification Act, 29 U.S.C. § 2101 et

seq. (the “WARN Act”).

  I.   INTRODUCTION

       1.      On the evening hours of November 21, 2022, UFI suddenly and without any notice

terminated all its employees with an electronically transmitted notice to all its employees, in

violation of the federal WARN Act, which requires sixty (60) days’ advance written notice of a

mass termination.

       2.      Plaintiff files this action seeking to insure that UFI complies with the law and

provides the requisite severance payments to its terminated employees to insure that it not solicit

releases of claims of any employees without informing them of the pendency of this action and

their right to pursue their claims under the WARN Act.

       3.      Plaintiff seeks immediate injunctive relief, as well as a declaratory judgment under

the Declaratory Judgment Act, 28 U.S.C. §§ 2201-02, on behalf of herself and all similarly situated

employees, precluding UFI from circumventing the requirements of the WARN Act.

 II.   PARTIES

       4.      Plaintiff Frances Denise Alomari is an adult Resident of Tupelo, Lee County,

Mississippi, and was an employee of Defendant until she was terminated on November 21, 2022.

       5.      Plaintiff brings this lawsuit as a Rule 23 class action asserting a federal WARN Act

claim on behalf of all UFI employees throughout the United States, who were laid off in a “mass




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layoff” or “plant closing,” as defined by the WARN Act, and who are not given a minimum of

sixty (60) days’ written notice of termination.

        6.      Plaintiff brins a declaratory judgment claim asking the Court to enjoin UFI from

violating the federal WARN Act and from soliciting releases from employees who are being laid

off without informing them of the pendency of this case and their rights under those statutes.

        7.      Defendant United Furniture Industries, Inc. is a Delaware corporation,

headquartered in Tupelo, Mississippi.

III.     JURISDICTION AND VENUE

        8.      This Court has jurisdiction over this proceeding pursuant to 28 U.S.C. § 1331 and

29 U.S.C. § 2104(a)(5).

        9.      This Court has personal jurisdiction over this matter because UFI is headquartered

in this District and conducts substantial business operations in this District.

IV.     FACTUAL BACKGROUND

        10.     UFI employs over 2,700 people across the United States, mostly in northeast

Mississippi.

        11.     At approximately 10:56 p.m. CST on November 21, 2022, Plaintiff and all the class

members received a text message from Defendant notifying her that she, as well as all other UFI

employees, were terminated effective immediately. Plaintiff had been an employee of Defendant

UFI for approximately six years prior to her termination.

        12.     Defendant UFI did not provide sixty (60) days advance written notice (or any

advance notice at all) to Plaintiff of her impending layoff. Nor did UFI provide any severance pay

to Plaintiff.




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       13.     At all relevant times, UFI employed 100 or more employees, exclusive of part-time

employees, (i.e., those employees who had worked few than 6 of the 12 months prior to the date

notice was required to be given or who had worked fewer than an average of 20 hours per week

during the 90 day period prior to the date notice was required to be given), or employed 100 or

more employees who in the aggregate worked at least 4,000 hours per week exclusive of hours of

overtime within the United States.

       14.     These anticipated terminations are expected to result in the loss of employment for

more than 2,700 employees (excluding part-time employees).

       15.     However, UFI has given no formal written advance notice of these anticipated

layoffs – not sixty (60) days in advance of the terminations, nor as much notice as practicable

under the circumstances.

       16.     Plaintiff is reasonably concerned that, absent court intervention, UFI will seek

releases from laid off employees without informing them of their rights or the pendency of this

case. Plaintiff has therefore brought this complaint seeking immediate relief to ensure that UFI

does not violate the federal WARN Act and then seek to obtain releases from employees who do

not have notice of their rights or the claims brought here on their behalf.

 V.    CLASS ACTION ALLEGATIONS

       17.     Plaintiff brings this action as a class action pursuant to Rule 23 of the Federal Rules

of Civil Procedure on behalf of the following Class:

               All persons who were employed by and laid off by United Furniture
               Industries, Inc. without required notice on November 21, 2022.

       18.     Numerosity—Fed. R. Civ. P. 23(a)(1). The Class is comprised of thousands of

individuals who were Defendant’s employees, the joinder of which in one action would be

impracticable. The exact number or identification of the Class Members is presently unknown.



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The identity of the Class Members is ascertainable and can be determined based on Defendant’s

records.

       19.     Predominance of Common Questions—Fed. R. Civ. P. 23(a)(2), 23(b)(3). The

questions of law and fact common to the Class predominate over questions affecting only

individual Class Members, and include, but are not limited to, the following:

               (a)      whether Defendant gave notice of termination as required by the WARN

                        Act;

               (b)      whether Defendant’s failure to give WARN Act notice is factually

                        excusable;

               (c)      whether the proposed class has enough members for this class action to

                        proceed; and

               (d)      whether Plaintiff and the members of the Class are entitled to declaratory

                        and injunctive relief.

       20.     Defendant engaged in a common course of conduct giving rise to the legal rights

sought to be enforced by Plaintiff individually and on behalf of the other members of the Class.

Individual questions, if any, are not prevalent in comparison to the common questions that

dominate this action.

       21.     Typicality—Fed. R. Civ. P. 23(a)(3). Plaintiff’s claims are typical of those of the

members of the Class in that they are based on the same underlying facts, events, and

circumstances relating to Defendant’s conduct.

       22.     Adequacy—Fed. R. Civ. P. 23(a)(4); 23(g)(1). Plaintiff will fairly and adequately

represent and protect the interests of the Class, has no interest incompatible with the interests of

the Class, and have retained counsel competent and experienced in such class action litigation.




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       23.    Predominance —Fed. R. Civ. P. 23(b)(3). Questions of law and fact common to the

Class predominate over any questions affecting only individual members of the Class.

       24.    Superiority—Fed. R. Civ. P. 23(b)(3). A class action is the best available method

for the efficient adjudication of this litigation because individual litigation of Class Members’

claims would be impracticable and individual litigation would be unduly burdensome to the courts.

Plaintiff and members of the Class have suffered irreparable harm as a result of Defendant’s bad

ongoing violation of the WARN Act. Because of the size of the individual Class Members’ claims,

no Class Member could afford to seek legal redress for the wrongs identified in this Complaint.

Without the class action vehicle, the Class would have no reasonable remedy and would continue

to suffer losses, as Defendant continues to engage in the conduct that is the subject of this

Complaint, and Defendant would be permitted to retain the proceeds of its violations of law. A

class action in this case presents fewer management problems and provides the benefits of single

adjudication, economies of scale, and comprehensive supervision by a single court.

       25.    Plaintiff does not anticipate any difficulty in the management of this litigation.

VIII. CAUSES OF ACTION

                                          COUNT I
                                      Federal WARN Act

       26.    At all times material herein, Plaintiff and similarly situated persons have been

entitled to the rights, protections, and benefits provided under the federal WARN Act, 29 U.S.C.

§ 2101 et seq. UFI was, and is, subject to the notice and back pay requirements of the federal

WARN Act because UFI is a business enterprise that employed 100 or more employees, excluding

part-time employees, and/or, employed 100 or more employees who in the aggregate work at least

4,000 hours per week (exclusive of overtime), as defined in the WARN Act. 29 U.S.C. §§




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2101(1)(A) and (B). UFI is now engaged in conducting mass layoffs without providing the

required notice under the federal WARN Act.

                                          COUNT II
                         Declaratory Judgment Act, 28 U.S.C. §§ 2201-02

       27.        An actual controversy of sufficient immediacy exists between the parties as to the

concern by Plaintiff that UFI should be prohibited from circumventing the requirements of the

WARN Act by conducting mass layoffs without providing the required notice and by soliciting

the employees it is laying off to sign separation agreements that release their claims under the

WARN Act, without first informing them of this lawsuit or their rights under those statues. Plaintiff

seeks a declaratory judgment and an injunction prohibiting UFI from engaging in such conduct.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays that this Court enter the following relief:

             A.    Declare and find that Defendant has violated the WARN Act, 29 U.S.C. § 2101
                   et seq.

             B.    Certify a class action and appoint Plaintiff and her counsel to represent a class of
                   UFI employees under Count I who have worked for UFI anywhere in the United
                   States and were laid off without required notice, in conjunction with the mass
                   layoff described herein;

             C.    Enter declaratory relief and an injunction under Count II enjoining UFI from
                   violating the WARN Act and from seeking releases of claims under the WARN
                   Act without informing employees of the pendency of this lawsuit and their rights
                   under those statutes;

             D.    Award compensatory damages, including all expenses and wages owed, in an
                   amount according to proof;

             E.    Award pre- and post-judgment interest;

             F.    Aware reasonable attorneys’ fees, costs, and expenses; and

             G.    Any other relief to which the Plaintiff and the class may be entitled.




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VI.   DEMAND FOR JURY TRIAL

      Plaintiff demands a trial by jury on all causes of action so triable.

Dated: November 23, 2022                             Respectfully submitted,

                                                     /s/ Don Barrett
                                                     John W. (“Don”) Barrett (MSB# 2063)
                                                     Katherine B. Riley (MSB# 99109)
                                                     BARRETT LAW GROUP, P.A.
                                                     404 Court Square
                                                     Lexington, Mississippi 39095
                                                     Telephone: (662) 834-2488
                                                     Email: dbarrett@barrettlawgroup.com
                                                            kbriley@barrettlawgroup.com

                                                     Richard Barrett (MSB# 99108)
                                                     Law Offices of Richard R. Barrett, PLLC
                                                     2086 Old Taylor Rd, Suite 1011
                                                     Oxford, MS 38655
                                                     Tel: 662-380-5018
                                                     Fax: 866-430-5459
                                                     rrb@rrblawfirm.net

                                                     Jerry Abdalla (MSB# 101213)
                                                     Abdalla Law, PLLC
                                                     602 Steed Rd #200
                                                     Ridgeland, MS 39157
                                                     Telephone: (601) 487-4590
                                                     Email: gmabdall@hotmail.com

                                                     Attorneys for Plaintiff Frances Denise
                                                     Alomari, on behalf of herself and all others
                                                     similarly situated




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